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              UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GOLDIE DAKIN,                                    )
                                                 )
             Plaintiff,                          )
      v.                                         ) Case No.: 2:11-cv-7653-PBT
                                                 )
                                                 )
NCO FINANICAL SYSTEMS, INC.,                     )
                                                 )
                                                 )
             Defendant.                          )

                     NOTICE OF VOLUNTARY DISMISSAL

TO THE CLERK:

      NOTICE IS HEREBY GIVEN that the above-captioned case has been

DISMISSED with prejudice.


/S/ Craig Thor Kimmel
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